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17
                         UNITED STATES DISTRICT COURT
18
                        CENTRAL DISTRICT OF CALIFORNIA
19
       PATRICIA FILARDI, an
20     individual; JAMES                   Case No.
       RUTHERFORD, an individual;
21     and on behalf of all others
       similarly situated,                 CLASS ACTION
22                PLAINTIFFS,              COMPLAINT FOR VIOLATIONS
23                                         OF THE AMERICANS WITH
       vs.                                 DISABILITIES ACT AND THE
24                                         CALIFORNIA UNRUH CIVIL
       THE RESORT AT PELICAN               RIGHTS ACT
       HILL LLC, a Delaware limited
25
26
                                CLASS ACTION COMPLAINT
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       liability company; and DOES 1         JURY TRIAL DEMANDED
1      to 50, inclusive,
                                             Judge: Hon.
2                 DEFENDANTS.
                                             Trial Date: None Set
3
4
5
            Plaintiffs Patricia Filardi and James Rutherford (collectively, “Plaintiffs”)
6
7           on behalf of themselves and the proposed class (defined below) bring this
8
            action against The Resort at Pelican Hill LLC (“Pelican Hill” or
9
            “Defendant”):
10
11                                      INTRODUCTION
12
       1.   Plaintiffs are mobility-impaired and require information about the
13
            accessibility of hotels and hotel rooms to independently make hotel
14
15          reservations. Defendant maintains its reservations systems, including but
16
            not limited to those offered to the public on its website PelicanHill.com (the
17
            “Website”) in such a way that the Website contains access barriers
18
19          preventing Plaintiffs, and other mobility-impaired individuals, from gaining
20
            full, equal and independent access to the reservations services offered by
21
22          Defendant. Defendant’s denial of full, equal and independent access to its

23          reservations services, and therefore its products and services offered
24
            thereby, is a violation of the rights of Plaintiffs under the Americans with
25
26
                                CLASS ACTION COMPLAINT
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1           Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12181, et seq., and under the

2           California Unruh Civil Rights Act, California Civil Code § 51, et seq.,
3
            (“Unruh Act”).
4
5      2.   For more than 27 years, the ADA and the Unruh Act have required that

6           individuals with disabilities be provided full, equal and independent access
7
            to the goods, services and facilities provided by hotel owners and operators.
8
9      3.   However, the hospitality industry has been slow to respond, or as here, has

10          failed to respond, to the needs of disabled travelers.
11
       4.   In response to many complaints received by the Department of Justice,
12
13          Civil Rights Division (“DOJ”), by individuals who reserved an accessible

14          hotel room only to discover upon arrival that the room they reserved is not
15
            accessible, the DOJ took action, issuing its Notice of Proposed Rulemaking
16
17          (“NPRM”), 73 FR 34508 (June 17, 2008).

18     5.   After a notice and comment period, with input from individuals with
19
            disabilities, hotels, resort developers, travel agencies and organizations
20
21          commenting on their behalf, the DOJ published Section 36.302(e) including
22          detailed requirements for equally accessible hotel reservations services.
23
       6.   The DOJ requires that hotels must make reasonable modifications to
24
25          reservations policies, practices, or procedures when necessary “to ensure
26
                                CLASS ACTION COMPLAINT
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1           that individuals with disabilities can make reservations for accessible guest

2           rooms during the same hours and in the same manner as individuals who do
3
            not need accessible rooms” and that they must “identify and describe
4
5           accessible features in the hotels and guest rooms offered through its

6           reservations service in enough detail to reasonably permit individuals with
7
            disabilities to assess independently whether a given hotel or guest room
8
9           meets his or her accessibility needs.”      28 C.F.R. § 36.302(e)(1)(i)-(ii)

10          (emphasis added).
11
       7.   The Final Rule on Nondiscrimination on the Basis of Disability by Public
12
13          Accommodations, including the hotel reservations requirements above, was

14          published on September 15, 2010 in the Federal Register. While the Final
15
            Rule generally took immediate effect, the hotel reservations component did
16
17          not. The DOJ observed: “As with hotels, the Department believes that

18          within the 18-month transition period these reservations services should be
19
            able to modify their systems to ensure that potential guests with disabilities
20
21          who need accessible rooms can make reservations during the same hours
22          and in the same manner as those who do not need accessible rooms.”
23
            Accordingly, to accommodate the needs of the industry, the hotel
24
25          reservations requirements of 28 C.F.R. § 36.302(e)(1) did not become
26
                                CLASS ACTION COMPLAINT
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1           effective until after an 18-month transition period, or until March 15, 2012.

2           28 C.F.R. § 36.302(e)(3).
3
       8.   The ADA’s hotel reservations requirements have now been in effect for six
4
5           (6) years.    Yet, the problem the DOJ sought to address through its

6           reservations regulations is as bad as ever.
7
       9.   Defendant presents an egregious example of the problem sought to be
8
9           addressed by the ADA and the DOJ.

10     10. The Website invites the public to make hotel reservations but lacks any
11
            information about the presence of accessible rooms, the features of
12
13          accessible rooms, or the accessibility of any aspect of the resort. In contrast,

14          the Website includes, among other information, a comprehensive “Drone
15
            Policy” setting forth the circumstances under which guests may use
16
17          “Unmanned Aerial Systems”.

18     11. Plaintiffs accordingly seek statutory damages where available, declaratory
19
            relief establishing that Defendant has engaged in violations of the ADA and
20
21          the Unruh Act and injunctive relief requiring Defendant to comply with the
22          ADA and the Unruh Act by providing individuals with disabilities the
23
            ability to make reservations for accessible guest rooms during the same
24
25          hours and in the same manner as individuals who do not need accessible
26
                                CLASS ACTION COMPLAINT
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1          rooms, including the identification and description of the accessible features

2          in Defendant’s hotels and guest rooms in sufficient detail to ensure that
3
           individuals with disabilities receive the information they need to
4
5          independently assess whether a given hotel or guest room meets his or her

6          accessibility needs.
7
                                         JURISDICTION
8
9      12. This Court has jurisdiction under 28 U.S.C. §1331 and 42 U.S.C. § 12188

10         for Plaintiffs’ claims arising under the ADA.
11
       13. This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over
12
13         Plaintiffs’ pendent claims under the Unruh Act.

14                                           VENUE
15
       14. Venue is proper in the Central District pursuant to 28 U.S.C. §§ 1391(b)(2)
16
17         because a substantial part of the events or omissions giving rise to this
18         claim occurred here.
19
                                            PARTIES
20
21     15. Plaintiffs each reside in Riverside County, California.
22     16. Plaintiff Filardi is an adult quadriplegic who uses a wheelchair for mobility.
23
           She has a specially equipped van with a ramp that deploys out of the
24
25         passenger side. She is substantially limited in performing one or more
26
                                  CLASS ACTION COMPLAINT
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1          major life activities, including but not limited to: walking, standing,

2          sleeping, ambulating, and/or sitting. She uses a wheelchair at all times for
3
           mobility and life functions. At all relevant times and prior to instituting this
4
5          action, she has a “qualified disability” under the ADA. She is a holder of a

6          Disabled Person Parking Placard.
7
       17. Plaintiff Rutherford has spinal stenosis aggravated by a herniated disc. Mr.
8
9          Rutherford also has an arthritic condition in his thumbs, which interferes

10         with his ability to grab, twist, and turn objects. As a result of his physical
11
           impairments, he is substantially limited in performing one or more major
12
13         life activities, including but not limited to: walking, standing, sleeping,

14         ambulating, and/or sitting. He uses a mobility device, including when
15
           necessary, a rollator walker or wheelchair.       He is further substantially
16
17         limited in performing one or more other major life activities, including but

18         not limited to the ability to grab, twist, and turn objects such as door
19
           handles. At all relevant times and prior to instituting this action, he has had
20
21         a “qualified disability” under the ADA. He is also a holder of a Disabled
22         Person Parking Placard.
23
       18. Plaintiffs require information about the accessibility of Defendant’s hotel
24
25         and guest rooms and accessible hotel features offered by Defendant, if any,
26
                               CLASS ACTION COMPLAINT
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1          to fully, equally and independently access the goods, services and facilities

2          provided by Defendant.
3
       19. Plaintiffs have each visited the Website and were unable to locate any
4
5          information regarding the accessibility of the hotel and guest rooms by the

6          mobility impaired, any accessible features of accessible rooms, or the
7
           accessibility of any aspect of the resort by the mobility impaired.
8
9      20. Plaintiffs are testers in this litigation and also consumers who intend to

10         return to the Website for the dual purpose of ensuring that Defendant ceases
11
           evading its responsibilities under federal and state law and using
12
13         Defendant’s Website and online reservations system to make a reservation

14         provided that they can assess independently whether the hotel and any of its
15
           guest rooms (including bungalows and villas), meets his or her accessibility
16
17         needs. Through this litigation, Plaintiffs seek to obtain full, equal, and

18         independent access to Defendant’s reservations services in the manner
19
           required by state and federal law.
20
21     21. Defendant is a Delaware limited liability company with its principal office
22         located in Newport Beach, California. Defendant owns and operates the
23
           hotel known as The Resort at Pelican Hill.        The Resort at Pelican Hill
24
25         constitutes a place of public accommodation. Defendant also provides the
26
                               CLASS ACTION COMPLAINT
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1          Website to the public. The Website provides access to the array of services,

2          including descriptions of The Resort at Pelican Hill, its guest rooms
3
           (including bungalows and villas), and hotel services, the ability to make
4
5          reservations, and many other benefits related to these facilities and services.

6          The Resort at Pelican Hill is a public accommodation within the definition
7
           of Title III of the ADA, 42 U.S.C. § 12181(7), and is likewise a “business
8
9          establishment” within the meaning of the Unruh Act. The Website is a

10         service, privilege, and advantage of Defendant’s hotel location and services.
11
           The Website is a service that is provided by, and integrated with, The
12
13         Resort at Pelican Hill.

14                                   FACTUAL ALLEGATIONS
15
       22. As part of its operations, Defendant provides the public with access to
16
17         reservations services, including but not limited to the ability to make
18         reservations online at the Website.
19
       23. Within the applicable limitations period, Plaintiffs visited the Website to
20
21         view the accessible features in the hotel and guest rooms (including
22         bungalows and villas) at The Resort at Pelican Hill.
23
       24. From the Website, Plaintiffs were unable to locate any information
24
25         regarding the presence or absence of any accessible guest rooms or other
26
                               CLASS ACTION COMPLAINT
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1           accessibility information at The Resort at Pelican Hill.

2       25. An investigation performed on Plaintiffs’ behalf confirmed the allegations
3
            made by Plaintiffs above.
4
5                                    CLASS ALLEGATIONS

6       26. Plaintiffs seek certification of the following nationwide Class pursuant to
7
            Fed. R. Civ. P. 23(a) and 23(b)(2): “all individuals whose mobility is
8
9           impaired and are considered to have a physical disability, as that term is

10          defined in 42 U.S.C. § 12102, who have been, or who will in the future be,
11
            denied full and equal access to the reservations services offered via
12
13          PelicanHill.com to consumers because the Website fails to provide

14          information regarding the accessibility of the hotel and guest rooms by the
15
            mobility impaired, any accessible features of accessible rooms, or the
16
17          accessibility of any aspect of the resort by the mobility impaired.”
18      27. Plaintiffs seek certification of the following statewide California Subclass
19
            pursuant to Fed. R. Civ. P. 23(a) and 23(b)(2): “all California residents
20
21          whose mobility is impaired and are considered to have a physical disability,
22          as that term is defined in 42 U.S.C. § 12102, who have been, or who will in
23
            the future be, denied full and equal access to the reservations services
24
25          offered via PelicanHill.com to consumers because the Website fails to
26
                                CLASS ACTION COMPLAINT
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1           provide information regarding the accessibility of the hotel and guest rooms

2           by the mobility impaired, any accessible features of accessible rooms, or the
3
            accessibility of any aspect of the resort by the mobility impaired.”
4
5       28. Numerosity:     The persons in the Class and California Subclass are so

6           numerous that joinder of all such persons is impractical and the disposition
7
            of their claims in a class action is a benefit to the parties and to the Court.
8
9       29. Typicality: The claims of the named Plaintiffs are typical of those of the

10          Class and California Subclass because all class members have been and
11
            continue to be adversely affected by Defendant’s exclusionary conduct
12
13          described herein, and the claims of the named Plaintiffs and all class

14          members are based on the same legal theories and proof of Defendant’s
15
            inaccessible reservations systems found at PelicanHill.com.
16
17      30. Common Questions of Fact and Law:               The action involves common
18          questions of fact and law including, but not limited to: (a) whether the
19
            Website contains any information regarding the accessibility of the hotel
20
21          and guest rooms by the mobility impaired, the features of accessible rooms,
22          or the accessibility of any aspect of the resort by the mobility impaired; (b)
23
            whether the lack of accessibility information on the Website is a violation
24
25          of the ADA; (c) whether the lack of accessibility information on the
26
                                 CLASS ACTION COMPLAINT
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1           Website is a violation of the Unruh Act; (d) whether statutory damages are

2           warranted; (e) whether declaratory relief should be granted; and (f) whether
3
            injunctive relief is warranted and the scope of same.
4
5       31. The case arises out of Defendant’s common policy and practice of operating

6           a reservations system via PelicanHill.com that does not provide full and
7
            equal access for the mobility impaired.
8
9       32. Adequacy of Representation:        The named Plaintiffs will fairly and

10          adequately represent the interests of the members of the Class and
11
            California Subclass because: (1) Plaintiffs are willing and able to represent
12
13          the proposed class and have every incentive to pursue this action to a

14          successful conclusion; (2) Plaintiffs’ interests are not antagonistic to those
15
            of the other class members; and (3) Plaintiffs are represented by counsel
16
17          experienced in litigating complex class actions.
18      33. Class treatment is in the public interest. The public has an interest in
19
            ensuring disabled consumers are included in all aspects of the economy and
20
21          that they receive the information they need to benefit from the services
22          offered by places of lodging.
23
        34. Nationwide class certification of the claims is appropriate pursuant to Fed.
24
25          R. Civ P. 23(b)(2) because Defendant has acted or refused to act on grounds
26
                                CLASS ACTION COMPLAINT
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1           generally applicable to the Class, making appropriate both declaratory and

2           injunctive relief with respect to Plaintiffs and the Class as a whole.
3
        35. Predominance. Certification of the Class and California Subclass is
4
5           appropriate under Fed. R. Civ. P. 23(b)(3) because questions of law and fact

6           common to class members predominate over questions affecting only
7
            individual class members.
8
9       36. Superiority. Certification of the Class and California Subclass is also

10          appropriate under Fed. R. Civ. P. 23(b)(3) because it is superior to other
11
            available methods for the fair and efficient adjudication of this litigation.
12
13          Each individual class member may lack the resources to undergo the burden

14          and expense of individual prosecution of this litigation to establish
15
            Defendant’s liability.
16
17      37. Individualized litigation would increase the delay and expense to all parties
18          and would multiply the burden on the judicial system presented by the legal
19
            and factual issues of this case. Individualized litigation would also present
20
21          the potential for inconsistent or contradictory judgments. In contrast, the
22          class action device would present far fewer management difficulties and
23
            would provide the benefits of single adjudication, economy of scale, and
24
25          comprehensive supervision by a single Court on the issue of Defendant’s
26
                                 CLASS ACTION COMPLAINT
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1           liability. Class treatment of the liability issues will ensure that all claims

2           and claimants are before this Court for consistent adjudication of the
3
            liability issues.
4
5                                   FIRST CAUSE OF ACTION

6                 (Violation of Title III of the Americans with Disabilities Act)
7                                   (42 U.S.C. § 12101, et seq.)
               (Injunctive Relief on Behalf of Plaintiffs and the Nationwide Class)
8
9       38. Plaintiffs incorporate by reference each and every allegation herein.

10      39. Plaintiffs bring this claim individually and on behalf of the nationwide
11
            Class.
12
13      40. Plaintiffs are individuals with disabilities under the ADA. 42 U.S.C. §

14          12102(1)(A).
15
        41. Defendant, a hospitality business, is public accommodation under the ADA.
16
17          42 U.S.C. § 12181(7).
18      42. Title III of the ADA prohibits discrimination against individuals with
19
            disabilities in the full and equal enjoyment of the goods, services, facilities,
20
21          privileges, advantages, or accommodations of any place of public
22          accommodation by any person who owns, leases (or leases to), or operates a
23
            place of public accommodation. 42 U.S.C. § 12182(a).
24
25
26
                                CLASS ACTION COMPLAINT
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1       43. Defendant provides the Website to customers for various purposes

2           including for the purpose of making reservations.
3
        44. For reservations systems in use since March 15, 2012, Defendant must meet
4
5           the following requirements: a) With respect to reservations made by any

6           means, “modify its policies, practices, or procedures to ensure that
7
            individuals with disabilities can make reservations for accessible guest
8
9           rooms during the same hours and in the same manner as individuals who do

10          not need accessible rooms”; and b) “Identify and describe accessible
11
            features in the hotels and guest rooms offered through its reservations
12
13          service in enough detail to reasonably permit individuals with disabilities to

14          assess independently whether a given hotel or guest room meets his or her
15
            accessibility needs.” 28 CFR § 36.302(e) (1)(i)-(ii).
16
17      45. Defendant has engaged in illegal disability discrimination by, without

18          limitation, failing to ensure that its reservations service in use at the Resort
19
            at Pelican Hill is readily accessible to, and usable by, individuals with
20
21          disabilities during the same hours and in the same manner as individuals
22          who do not need accessible rooms, by failing to “[i]dentify and describe
23
            accessible features in the hotels and guest rooms offered through its
24
25          reservations service in enough detail to reasonably permit individuals with
26
                                CLASS ACTION COMPLAINT
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1           disabilities to assess independently whether a given hotel or guest room

2           meets his or her accessibility needs.”
3
        46. By failing to provide accessible reservations services, Defendant has
4
5           engaged, directly, or through contractual, licensing, or other arrangements,

6           in illegal disability discrimination, as defined by Title III, including without
7
            limitation: a) denying individuals with mobility disabilities opportunities to
8
9           participate in and benefit from the goods, services and facilities available at

10          Defendant’s hotels; b) failing to provide individuals with mobility
11
            disabilities equal access to goods, services or facilities; c) utilizing methods
12
13          of administration that (i) have the effect of discriminating on the basis of

14          disability, or (ii) perpetuating the discrimination of others who are subject
15
            to common administrative control; and d) failing to make reasonable
16
17          modifications in policies, practices, or procedures where necessary to afford

18          services, privileges, advantages, or accommodations to individuals with
19
            mobility disabilities.
20
21      47. Defendant’s ongoing and continuing violations of Title III have caused, and
22          in the absence of an injunction will continue to cause, harm to the Plaintiffs
23
            and Class.
24
25
26
                                 CLASS ACTION COMPLAINT
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1       48. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights set

2           forth and incorporated therein, Plaintiffs request relief as set forth below.
3
                                  SECOND CAUSE OF ACTION
4
5                     (Violation of the California Unruh Civil Rights Act)
                                    (Cal. Civ. Code §§ 51-52)
6             (Injunctive Relief and Damages on Behalf of the California Subclass)
7
        49. Plaintiffs incorporate by reference each and every allegation herein.
8
9       50. Plaintiffs bring their claims individually and on behalf of the California

10          Subclass.
11
        51. The Unruh Act guarantees, inter alia, that persons with disabilities are
12
13          entitled to full and equal accommodations, advantages, facilities, privileges,

14          or services in all business establishments of every kind whatsoever within
15
            the jurisdiction of the state of California. Cal. Civ. Code § 51(b).
16
17      52. Defendant’s Resort at Pelican Hill is a hotel providing lodging to the
18          general public in California and is a business establishment within the
19
            jurisdiction of the state of California. As such, Defendant is obligated to
20
21          comply with the provisions of the Unruh Act, California Civil Code § 51, et
22          seq.
23
        53. The Unruh Act provides, inter alia, that a violation of the ADA, 42 U.S.C.
24
25          § 12101, et seq., also constitutes a violation of the Unruh Act. Cal. Civ.
26
                                 CLASS ACTION COMPLAINT
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1           Code § 51(f).

2       54. Defendant’s discriminatory conduct alleged herein includes, inter alia, the
3
            violation of the rights of persons with disabilities set forth in Title III of the
4
5           ADA and, therefore, also violates the Unruh Act. Cal. Civ. Code § 51(f).

6       55. The actions of Defendant were and are in violation of the Unruh Act,
7
            California Civil Code §§ 51, et seq. Plaintiffs are aware of Defendant’s
8
9           unlawful actions, and their knowledge of this discrimination has deterred

10          them from attempting to access and use Defendant’s reservation services
11
            and hotels. Therefore, Plaintiffs are entitled to injunctive relief remedying
12
13          the discrimination pursuant to California Civil Code § 52. Unless the Court

14          enjoins Defendant from continuing to engage in these unlawful practices,
15
            Plaintiffs will continue to suffer irreparable harm.
16
17      56. Plaintiffs and the California Subclass are also entitled to statutory minimum

18          damages pursuant to California Civil Code § 52 for each and every offense
19
            in violation of the Unruh Act. Cal. Civ. Code § 52(a). Thus, Plaintiffs
20
21          request relief as set forth below.
22                                 THIRD CAUSE OF ACTION
23
              (Declaratory Relief on Behalf of Plaintiffs and the Nationwide Class)
24
25      57. Plaintiffs incorporate by reference each and every allegation herein.
26
                                 CLASS ACTION COMPLAINT
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1       58. An actual controversy has arisen and now exists between the parties in that

2           Plaintiffs contend, and are informed and believe that Defendant denies, that
3
            by failing to provide a reservations service through PelicanHill.com that
4
5           allows persons with mobility impairments to independently identify

6           accessible features of Defendant’s hotel and independently reserve
7
            accessible rooms, Defendant fails to comply with applicable laws, including
8
9           but not limited to Title III of the Americans with Disabilities Act, 42 U.S.C.

10          §§ 12101, et seq.
11
        59. A judicial declaration is necessary and appropriate at this time in order that
12
13          each of the parties may know their respective rights and duties and act

14          accordingly. Thus, Plaintiffs request relief as set forth below.
15
                                      PRAYER FOR RELIEF
16
17           WHEREFORE, Plaintiffs pray for judgment in their favor and relief as
18    follows:
19
            (a)    Certification of the nationwide Class and the California Subclass,
20
21                 naming Plaintiffs as the representatives of the nationwide Class and
22                 the California Subclass and designating counsel for Plaintiffs as
23
                   counsel for the nationwide Class and the California Subclass;
24
25          (b)    Granting a permanent injunction pursuant to the ADA and the Unruh
26
                                 CLASS ACTION COMPLAINT
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1                 Act, requiring Defendant to take the steps necessary to ensure that

2                 Defendant’s     reservations        services   found   on   its   Website
3
                  (PelicanHill.com) allow persons with mobility impairments to
4
5                 independently identify accessible features of Defendant’s Resort and

6                 guest rooms (including bungalows and villas) at Pelican Hill and
7
                  independently reserve accessible rooms in those hotels;
8
9           (c)   Entry of a declaration that since March 15, 2012, Defendant has and

10                continues to discriminate against persons with mobility impairments
11
                  by failing to ensure that Defendant’s reservations services found on
12
13                its Website (PelicanHill.com) allowed persons with mobility

14                impairments to independently identify accessible features of
15
                  Defendant’s hotel and guest rooms (including bungalows and villas),
16
17                and independently reserve accessible rooms in those hotels, in

18                violation of Title III of the ADA, 42 U.S.C. §§ 12181, et seq. and
19
                  California’s Unruh Act, California Civil Code §§ 51-52;
20
21          (d)   Awarding applicable statutory damages pursuant to California Civil
22                Code § 52(a);
23
            (e)   Awarding Plaintiffs reasonable attorneys’ fees and costs, as
24
25                authorized by 42 U.S.C. § 12188, California Civil Code § 52, and
26
                                CLASS ACTION COMPLAINT
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28
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1                 California Civil Code § 54.3; and

2           (f)   For such other and further relief as the Court deems just and proper.
3
                                         TRIAL BY JURY
4
5           Plaintiffs are entitled to and hereby demand a trial by jury.

6                               Plaintiffs PATRICIA FILARDI, JAMES
7                               RUTHERFORD, individually and on behalf
                                of all others similarly situated,
8
9                               By: /s/ Joseph R. Manning, Jr.

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